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		2016-04-20-01 
	


  







The Supreme Court of South Carolina

  
    
      
        Re:  Amendment to Rule 410, South Carolina Appellate Court Rules
        Appellate Case No. 2016-000102
    
  


ORDER

Pursuant to Article V, § 4 of the South Carolina  Constitution, Rule 410(h)(1)(F), SCACR, is amended to provide as follows:

  (F) Administrative Law Judge or Workers' Compensation  Commission Member. This class shall  include any member who is a judge on the South Carolina Administrative Law  Court, is a federal administrative law judge whose duties are primarily  performed within the State of South Carolina or is a South Carolina Workers'  Compensation Commissioner.

The amendment is effective immediately. Members reclassified by this  amendment are not entitled to any refund of license fees for License Year 2016.
&nbsp;

  
    
    
      s/Costa M. Pleicones&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C.J.
        
        s/Donald W. Beatty&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/John W. Kittredge&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        J.
        s/Kaye G. Hearn&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
        s/John Cannon Few&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
        &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; J.
    
  

Columbia, South Carolina
  April 20, 2016
  







